      Case 3:20-cv-00134 Document 22 Filed on 10/28/20 in TXSD Page 1 of 10
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                       October 28, 2020
                            UNITED STATES DISTRICT COURT
                                                                                      David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

    LISA LAROCCA,                             §
                                              §
           Plaintiff.                         §
                                              §
    VS.                                       § CIVIL ACTION NO. 3:20-CV-00134
                                              §
    ALVIN INDEPENDENT SCHOOL                  §
    DISTRICT,                                 §
                                              §
           Defendant.                         §

                        MEMORANDUM AND RECOMMENDATION

          Before me is Alvin Independent School District’s Motion to Dismiss Plaintiff’s First

Amended Complaint (“Motion to Dismiss”). See Dkt. 11. After considering the parties’

submissions and the relevant case law, I recommend that the Motion to Dismiss be

GRANTED.

                                       BACKGROUND

          On September 20, 2019, Plaintiff Lisa LaRocca (“LaRocca”) timely filed a charge

of discrimination with the Equal Employment Opportunity Commission (“EEOC”). 1 A

few months later, she received a notice of her right to sue. Then, on April 28, 2020,

LaRocca filed this lawsuit against her former employer, Defendant Alvin Independent


1
  The First Amended Complaint alleges that LaRocca filed separate charges of discrimination with
the EEOC in March 2019 and September 2019. This lawsuit is based solely on the September
2019 charge of discrimination, which is the charge of discrimination explicitly referenced in the
applicable right to sue letter. See Dkt. 11-1. In her response to the Motion to Dismiss, LaRocca
does not attach the March 2019 charge of discrimination, nor does she attempt to rely on it. Thus,
for purposes of evaluating the instant Motion to Dismiss, I look solely to the factual allegations
contained in the September 2019 charge of discrimination (“EEOC charge”).
     Case 3:20-cv-00134 Document 22 Filed on 10/28/20 in TXSD Page 2 of 10




School District (the “District”). The Original Complaint asserted two causes of action

under Title VII of the Civil Rights Act of 1964: hostile work environment based on national

origin and retaliation.

       After accepting service, the District contacted LaRocca and conveyed its intent to

move to dismiss the complaint. Thereafter, the parties entered into an agreement extending

the deadline for LaRocca to amend her complaint beyond the 14-day period set forth by

local rule. A few days later, LaRocca filed her First Amended Complaint. The First

Amended Complaint, like the Original Complaint, alleges two causes of action: hostile

work environment based on national origin and retaliation. The District has moved to

dismiss both of LaRocca’s claims for failure to exhaust administrative remedies and failure

to state a claim.

                                    LEGAL STANDARDS2

A.     12(b)(6)

       When evaluating a motion to dismiss for failure to state a claim, a court must accept

“all well-pleaded facts as true and view[] those facts in the light most favorable to the

plaintiff.” Cummings v. Premier Rehab Keller, P.L.L.C., 948 F.3d 673, 675 (5th Cir.

2020). “To survive a motion to dismiss, a complaint must contain sufficient factual matter,


2
  In addition to Federal Rule of Civil Procedure 12(b)(6), the District’s motion also references Rule
12(b)(1), suggesting that a Title VII litigant’s failure to exhaust their administrative remedies
before the EEOC relates to subject matter jurisdiction. Because the District is mistaken, I do not
discuss Federal Rule of Civil Procedure 12(b)(1). See Shaw v. Helix Energy Sols. Grp., Inc., No.
CV H-18-3200, 2019 WL 3557843, at *7 n.6 (S.D. Tex. July 12, 2019) (“Whether a Title VII
plaintiff has exhausted his administrative remedies does not relate to subject matter jurisdiction.
Instead, exhaustion of administrative remedies is a procedural predicate to filing suit, and where
there has been no exhaustion of a Title VII claim, there can be recovery.”) (citation omitted).

                                                 2
     Case 3:20-cv-00134 Document 22 Filed on 10/28/20 in TXSD Page 3 of 10




accepted as true, to state a claim to relief that is plausible on its face.” Id. (internal quotation

marks omitted). Under this standard, a court must demand “more than a sheer possibility

that a defendant has acted unlawfully. Where a complaint pleads facts that are merely

consistent with a defendant’s liability, it stops short of the line between possibility and

plausibility of entitlement to relief.” Id. (internal quotation marks omitted). In ruling on a

motion to dismiss, “[t]he court’s review is limited to the complaint, any documents attached

to the complaint, and any documents attached to the motion to dismiss that are central to

the claim and referenced by the complaint.” Lone Star Fund V (U.S.), L.P. v. Barclays

Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010).

B.     TITLE VII EXHAUSTION REQUIREMENT

       “Before filing a claim under Title VII in federal court, plaintiffs must first exhaust

their administrative remedies by filing a charge of discrimination with the [EEOC] within

a statutorily mandated time period. Administrative exhaustion for Title VII claims is

mandatory (but not jurisdictional), and courts will dismiss claims not properly exhausted.”

Wiggins v. Golden Corral Corp., 802 F. App’x 812, 814 (5th Cir. 2020) (internal quotation

marks and citations omitted). To determine whether a claim has been presented to the

EEOC for purposes of the exhaustion requirement, a district court may expand its inquiry

beyond “the scope of the administrative charge itself” to include consideration “of the

EEOC investigation which can reasonably be expected to grow out of the charge of

discrimination.” Melgar v. T.B. Butler Publ’g Co., Inc., 931 F.3d 375, 379 (5th Cir. 2019).

To this end, “the crucial element of a charge of discrimination is the factual statement

contained therein.” Id.

                                                 3
     Case 3:20-cv-00134 Document 22 Filed on 10/28/20 in TXSD Page 4 of 10




                                       ANALYSIS

A.       HOSTILE WORK ENVIRONMENT BASED ON NATIONAL ORIGIN

         LaRocca alleges that the District subjected her to a hostile work environment

because of her national origin. The District argues that this claim should be dismissed for

a failure to exhaust administrative remedies because “the claim[] asserted in [LaRocca’s]

EEOC charge [was] discrimination based on race, sex, and age, . . . not discrimination . . .

based on her national origin.” Dkt. 11 at 5. Aside from the exhaustion question, the District

maintains that dismissal is proper because LaRocca’s complaint fails to plead facts

supporting each element of the hostile work environment claim. Because I find the

exhaustion argument dispositive, I focus my attention there.

         In evaluating the exhaustion issue, I must decide whether LaRocca’s hostile work

environment claim could reasonably be expected to grow out of the factual allegations she

asserted in the EEOC charge. The answer is clearly no.

         In the relevant EEOC charge from September 2019, LaRocca checked the following

boxes:




Dkt. 11.1 at 2. Notably, LaRocca did not check the national origin box, notwithstanding

the fact that her prior counsel prepared the EEOC charge. See id. LaRocca claims her

failure to check the national origin box is not fatal to the hostile work environment claim

                                             4
    Case 3:20-cv-00134 Document 22 Filed on 10/28/20 in TXSD Page 5 of 10




because the EEOC charge nonetheless contains factual allegations implicating such a

claim. Specifically, LaRocca contends that in the addendum attached to the EEOC charge

she used the term “ethnicity,” which LaRocca insists is synonymous with the term

“national origin.” I find this argument unpersuasive.

       Discrimination based on national origin is defined broadly, to include acts of

discrimination undertaken “because an individual has the physical, cultural or linguistic

characteristics of a national origin group.” 29 C.F.R. §1606.1. Therefore, “national origin

claims have been treated as ancestry or ethnicity claims in some circumstances. For

example, in the Title VII context, the terms overlap as a legal matter.” Saint Francis Coll.

v. Al-Khazraji, 481 U.S. 604, 614 (1987) (Brennan, J., concurring). While the terms

“national origin” and “ethnicity” may overlap as a legal matter, LaRocca’s EEOC charge

simply does not allege facts supporting a national origin claim. In the EEOC charge,

LaRocca does not discuss or identify her national origin in the paragraph where she uses

the term “ethnicity.” Indeed, LaRocca only mentions that she is an “American female of

Italian descent” in the first sentence of the EEOC charge, but she never brings it up again

and certainly never links that heritage to the District’s alleged misbehavior. To be clear,

in the same paragraph where LaRocca uses the term “ethnicity,” she describes the District’s

conduct as follows:




                                             5
    Case 3:20-cv-00134 Document 22 Filed on 10/28/20 in TXSD Page 6 of 10




Dkt. 11-1 at 4. At most, these factual allegations reveal LaRocca’s belief that the District

and her fellow employees treated her unfavorably due to her “NewYorker/Brooklyn

mannerisms,” not her ethnicity/national origin. In other words, nothing in the charge of

discrimination even suggests that the hostile work environment claim asserted in this suit

(national origin), could reasonably be expected to grow out of the factual allegations

asserted in the EEOC charge. Consequently, “[t]he combination of not checking the

[“national origin”] box and not describing a [national origin] claim leaves a failure to

exhaust,” warranting dismissal. McLin v. Chiles, No. 3:14CV636-DPJ-FKB, 2015 WL

898280, at *3 (S.D. Miss. Mar. 3, 2015). See also Anderson v. Venture Express, 694 F.

App’x 243, 247 (5th Cir. 2017) (“[Plaintiff] failed to exhaust his administrative remedies

by failing to include the retaliation claim in his EEOC charge, either by checking the box

or describing retaliation.”); Luna v. Lockheed Martin Corp., 54 F. App’x 404, 2002 WL

31687698, at *1 (5th Cir. 2002) (affirming summary judgment on plaintiff’s national origin

claim for failure to exhaust administrative remedies when plaintiff did not check the

national origin box on the EEOC charge). This result is only bolstered by the fact that

LaRocca was represented by counsel before the EEOC. See Walton–Lentz v. Innophos,

Inc., 476 F. App’x 566, 570 (5th Cir. 2012) (holding that the plaintiff’s “being represented


                                             6
     Case 3:20-cv-00134 Document 22 Filed on 10/28/20 in TXSD Page 7 of 10




by counsel in filing her EEOC charges further supports the district court’s ruling” that her

failure to mention a hostile work environment claim in the EEOC charge was not a mere

technical deficiency and constituted a failure to exhaust).

B.     RETALIATION

       Next, the District argues that LaRocca’s retaliation claim should fail for at least two

reasons. First, the district argues that LaRocca failed to exhaust her administrative

remedies because the EEOC charge “does not allege . . . retaliation based on national origin,

retaliation based on reporting non-compliance issues with special education laws, or

retaliation based on complaining of a lack of training.” Dkt. 11 at 6. Second, the District

argues that LaRocca’s complaints about non-compliance with federal laws and her lack of

training do not constitute protected activities for purposes of a Title VII retaliation claim.

I address these arguments in reverse order.

       Title VII prohibits employers from taking adverse employment actions against an

employee that has opposed a discriminatory employment practice or participated in any

Title VII enforcement proceedings. See 42 U.S.C. § 2000e-3(a). To establish a Title VII

retaliation claim, LaRocca must show “that: (1) she participated in an activity protected by

Title VII; (2) she was subject to an adverse employment action; and (3) there is a causal

connection between the adverse employment action and the protected activity.” Abbood v.

Tex. Health & Hum. Servs. Comm’n, 783 F. App’x 459, 462 (5th Cir. 2019). To satisfy

the first element, LaRocca alleges that her retaliation claim is based on three protected

activities:



                                              7
    Case 3:20-cv-00134 Document 22 Filed on 10/28/20 in TXSD Page 8 of 10




Dkt. 10 at 27–28. The District argues that these allegations fail to state a claim for relief

under Title VII’s retaliation provisions because they do not demonstrate that LaRocca

engaged in any protected activities.

       In evaluating LaRocca’s allegations of protected activities, I am guided by the Fifth

Circuit’s recent explanation of controlling law:

       To prevail on [her] Title VII claims, [a plaintiff] must show that [she] is
       entitled to protected status, or engaged in a protected activity. . . . Protected
       status extends to individuals on the basis of “race, color, religion, sex, or
       national origin.” Protected activity is the “opposition to any practice
       rendered unlawful by Title VII, including making a charge, testifying,
       assisting, or participating in any investigation, proceeding, or hearing under
       Title VII.” Title VII is an anti-discrimination law, not a general civility code.
       In the retaliation context, protected activity is dependent on Title VII’s
       categories of protected individuals. Importantly, Title VII protects an
       employee only from retaliation for complaining about the types of
       discrimination it prohibits.



                                              8
     Case 3:20-cv-00134 Document 22 Filed on 10/28/20 in TXSD Page 9 of 10




Brackens v. Stericycle, Inc., --- F. App’x ---, 2020 WL 5807570, at *3 (5th Cir. Sept. 29,

2020) (cleaned up) (emphases added). Based on the Fifth Circuit’s pronouncement, only

one of LaRocca’s alleged protected activities implicates Title VII: her complaints to the

District’s administration regarding the discrimination and harassment she was allegedly

subjected to because of her national origin. The First Amended Complaint does not in any

way link the other alleged protected activities to the type of discrimination Title VII

prohibits. Thus, although LaRocca characterizes her retaliation claim as arising from three

protected activities, this characterization is legally incorrect. Although non-compliance

with special education laws and insufficient training might give rise to some other cause of

action, if those failures are not in some way causally linked to race, color, religion, sex, or

national origin, then Title VII is the wrong avenue to pursue relief.              Accordingly,

LaRocca’s complaints about non-compliance with federal laws and insufficient training do

not constitute protected activities that can serve as a basis for her Title VII retaliation claim.

       Having disposed of two of the so-called protected activities, I turn to the District’s

failure to exhaust argument. Consistent with the standard applied above to the hostile work

environment claim, I must decide whether LaRocca’s retaliation claim based on national

origin could reasonably be expected to grow out of the factual allegations asserted in the

EEOC charge. In the EEOC charge, LaRocca complained that she suffered retaliation after

filing a formal grievance with the District in January of 2019. LaRocca specifically

explained that her January 2019 “grievance complained of 1) Hostile work environment

and the forced resignation, 2) Sexual harassment[,] 3) Unfair reprimands[, and] 4)

Discrimination based on sex and race.” Dkt. 11-1 at 4–5. Importantly, LaRocca did not

                                                9
    Case 3:20-cv-00134 Document 22 Filed on 10/28/20 in TXSD Page 10 of 10




check the national origin box, and neither race discrimination nor sex discrimination is

synonymous with national origin discrimination. Moreover, the EEOC charge does not

describe any factual allegations otherwise suggesting that the District retaliated against

LaRocca for complaining about discrimination based on her national origin. Consequently,

LaRocca has not fulfilled the administrative exhaustion requirement and her retaliation

claim should be dismissed. See Anderson, 694 F. App’x at 247; McLin, 2015 WL 898280,

at *3. Again, this result is only bolstered by the fact that LaRocca was represented by

counsel before the EEOC. See Walton–Lentz, 476 F. App’x at 570.

                                     CONCLUSION

       For the reasons set forth above, I RECOMMEND that the Motion to Dismiss (Dkt.

11) be GRANTED.

       The Clerk shall provide copies of this Memorandum and Recommendation to the

respective parties who have fourteen days from the receipt thereof to file written objections

pursuant to Federal Rule of Civil Procedure 72(b) and General Order 2002–13. Failure to

file written objections within the time period mentioned shall bar an aggrieved party from

attacking the factual findings and legal conclusions on appeal.

       SIGNED this ____ day of October 2020.


                                          ______________________________________
                                                  ANDREW M. EDISON
                                          UNITED STATES MAGISTRATE JUDGE




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